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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF FLORIDA

PENSACOLA DIVISION
In re:
David Aldean Everett Case No.: 16-30531-JCO
Chapter ll
Debtor

 

DEBTOR’S NOTICE OF FILING APPRAISAL REPORT PURSUANT TO
RULE 3012-1 (D) (520 W. Strong Street)

 

In accordance With Rule 3012-1(D) of the Local Rules of the United States
Bankruptcy Court for the Northern Distriet of Florida, Debtor-in-Possession, David

Aldean Everett, through counsel, hereby gives notice of filing the appraisal report

of 520 West Strong Street, attached hereto.

…

J. Sttw§p/Ford in

Florida Bar Number 512869
Wilson, Harrell, Farrington, Ford,
Wilson, Spain, & Parsons, P.A.
307 S. Palafox Street

PenSacola, FL 32502

(850) 438-1111 Telephone

(850) 432-8500 Facsimile

j Sf@Wth-law.com

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CERTIFICATE OF SERVICE

l hereby certify that a true and correct copy of the foregoing has been
furnished to Jason Egan, United States Trustee, 110 East Park Avenue, Suite 128,
Tallahassee, Florida 32301, and the following creditors by electronic mail through

CM/ECF this S`l'j_-day of October, 2017.

J. er/BN FoRD, EsQUIRE

CM/ECF Electronic Mailing:

Rachel Ahlurn on behalf of Creditor Ditech Financial LLC
ecfflnb@aldridgenite.corn, rahlurn@aldridgenite.com

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Robert Alexander Andrade on behalf of Creditor Escambia County Tax Collector
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Philip Alan Bates on behalf of Creditor Synovus Bank
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swalton@philipbates.net;Wwest@philipbates.net;dwatts@philipbates.net

 

 

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Stefan Beuge on behalf of Creditor US Bank Trust, N.A., as Trustee for Lsf9
Master Participation Trust
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Adarn Alexander Diaz on behalf of Creditor Towd Point Master Funding Trust
REO, by U.S. Bank Trust National Association, as Trustee

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adiaz@shdlegalgroup.corn

 

Jason H. Egan on behalf of U.S. Trustee United States Trustee
iason.h.egan@usdoi .gov

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Jeffrey Fraser on behalf of Creditor HSBC Bank USA, National Association as
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Kenneth W. LockWood on behalf of Creditor U.S. BANK NA, AS TRUSTEE,
SUCCESSOR IN INTEREST TO WACHOVIA BANK, NA, AS TRUSTEE FOR

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WELLS FARGO ASSET SECURITIES CORPORATION, MORTGAGE ASSET-
BACKED PASS-THROUGH CERTIFICATES, SERIES 2002-l

bk@_exllegal.corn

Kenneth W. Lockwood on behalf of Creditor U.S. Bank National Association, as
Trustee for Credit Suisse First Boston Mortgage Securities Corp., CSAB
Mortgage-Bacl<ed PaSs-Through Certificates, Series 2006-4

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Austin Matthew Noel on behalf of Creditor Specialized Loan Servicing LLC
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Margaret Thornas Stopp on behalf of Creditor Escarnbia County Tax Collector
mstODD@th-law.com, ipinette@rnhW-law.com;tstol<es@rnhw-law.com

ReShaundra Marie Suggs on behalf of Creditor chen Loan Servicing LLC
bkcmecf@cosplaw.com, tbougouneau@cosplaw.com

 

United States Trustee
USTPRegionZ l .TL.ECF@usdoi . gov

Sarah St John Walton on behalf of Creditor Synovus Bank
swalton@philipbates.net,
pbates@philipbates.net;WWest@philipbates.net;abridges@philipbates.net

 

Jason A. Weber on behalf of Creditor Bayview Loan Servicing, LLC
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Mariarn Zaki on behalf of Creditor Towd Point Master Funding Trust REO, by
U.S. Bank Trust National Association, as Trustee
MZaki@erWlaw.com, BankruptcyECF@erWlaW.com

 

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ante A. Flyiand

Uniiorm Fiesldentlai Appraisal Repori H|_,, mw

The purpose of this summary appraisal report is to provide tire lender/client with an accurate and adequatety supported opinion nr me market value of die subject property

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Pi°W“YAd“'ESS 520 W Strong 51 C“Y PeiiSacOia Siaie FL 39 C°de 32501

Borrower gag-rd Everm 0wneroiPubiic Hecord Dav|d Everm County ESCan-li]ia

LWP“ DE»‘":"PED" E 30 Fi UF LTS 1 2 3 4 BLK 11 BELMONT NUMBER|NG OFi 4345 P1111B GA 94

Assessot‘s Parce| # 000550901[)013071 Tax Year 2015 Fi.E. Taxes $ 319
,_ NEighb°m°°“ Nam"' Be|iTiDi'itTl'aCi.r' NOii.ii Hi|l Higli|oi`ids M-‘P Reieie"“ 37860 GE“S“STWCT 0005.00
§ 0ccuparti |:| 0wner § Tenaril |:] \r'acani Special .iissessments 5 g i:| FLlD HUA$ 0 ij per year \:] par month
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m Assionmentiype |:| Purchase Transactiun |:J Her“trtance transaction § tither[descrilte) Marke{ Va|ue fur litigation

L°‘i“e'i°i€"i Dave Everiti A“d'€$$ 1020 N. Fleus St, Pensacola, FL 3250!

is the subject property currently uttered fur sale or has `itbeen ofiered for sale in me twelve months prior io the etfeciive date oi this appraisal? |:| i'es g flo

Fiepori data source(si useei, orienng prico{s). and dateisi. pARM|_S public Recmds_

i m did |:| did not analyze the contract lor sale for the subject purchase transaction Explain lite results ol the analysis oi the contract for sale or why the analysis was not

pet‘lunnedl
5
§ Coniract Price$ 0ate oi Coniraci ls lite property seller the owner of public recordi l:| ‘t'es m No Daia Soiitce[s)
§ is mere anytrnancial assistance [ioan charges safe concessions gill or downpayment assistance eicii lo be paid try any party on behalf oi the bcrrotver? |:| ‘fes \:] Nu
0 lives report the total dollar amount and describe the items lo he pald.

Nole: Raee and the racial composition ol the neighborhood are not appraisal factors

Neighborhood Charaolerlaiios nco-Unit Housirtg Tnnde One-Unlt Housing Frcsmt hand ties *itl

Location g Llrhai Suburban P.urai Proi:erty Vaiues _ increasing Stable _ Deciinlnq FRiCE »'tGE tins-lint m %

Bui|iriip tx liver 75% :| 25-75% _ tinder 2595 Dcrnandisupp|y : Shurtans § in liaiance _ over Suppiy $(liiiiii iyrs) 2-4 Unii 3 it
3 Growth m Hapid § Siahle _ Siow Marltetinp Time i:| linderiimtl'rs 3-6 mtirs overtimths 45 Low 4 Muiiiri=amiiy 2 it
§ NBi'Ji‘h°'““°'i B°""iiF-"es NORTi-l - Fairiield Dr. SUUTH - Pensacola Bay EAST ~ Bayou Texar WEST - Pace Blvd. 450 iiiii' 110 C°'“i"e'°'ili 10 ii
3 (Present Land tise Other refers to VacanL'Undeveioped Land). 135 P""i- 40 U"‘E' 15 ii
§ Niiii‘i°m°°i D€SC"PB`°" inspection ot the site and immediate area retreated no conditions that would adversely effect market demandl The neighborhood is immediately
2 NE downtown Pensacola. Nonh Hill is a historic residential districtl The area is convenient to downtown and necessary supporting facilities Gomrnerclal properties in the

 

 

area are located aion ma or streets They do not appear to adversely afiect residential values. (Present Land Use; "0ther‘ relers to \i'acanl or Untleve|oped Land)
carter cnnuitinns including supportiur the above conclusions-l GFHEO (HUDi statistics indicate that housing prices itt the Pensacola FL market area has increased
6.61% in the asi 12 months and increased 20.47% in the ast5 ears. Thls a-ear relatively consistent with lv‘lLS data indications Property values have been increasing
gradually but steadily, An analysis of the available market data iorlhe past Ei months does not appear to support time ad'ustments either positive or negative

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
  
  
 
   
  
  
  
   
 
    
  
    
   
 
 
 
  
 

 

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ii tile highest and vest err 01 Sublrrl warrior as improved int as proposed per plans ann specifcalinnsi me present user yes ij Nn tr rtn, describe

Uiiiiiios Public other idescrtbeft Fubiio Dther[descrloe] oft-site lmprotrernents-Type Fubiic Priiiaio
Electrii:ity :] water g street ASD|-lait g |:]
Gas Saeitary Sewer :I miey None _ |:|
FEilllA apecla| Ftood Hazard Area |:] tea g ilio FEMA F|ood lone X FEMA Map iii 12033§[|399@ FEMA Map Date 09/29/2[)05
Are the utilities and oil-silo improvements typical for lite market area? gi Yes m No |f No, describe

drs there any adverse site conditions or external factors ieascments, encroachmentsl environmental conditionsl |aorl uses, eic}? [:| Ves g No il \'es, describe

 

No apparent adverse easements encroachments or environmental conditions were noted during inspection ol the property. To the east of the subleci progeny is art ingress
egress easement This easement provides access to naming behind the horne Because this easement is not part of the parcel (00030090100130?1) and not within the

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

legal description this easement is not con"idere_diari of the subleci property and not nciudcd in the value estimate

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Add"m"iii'*im"is isli€€iai energieii¢ie"li‘”mS-B\¢-ii Froni oorch, central heat and iVC, high ceilings hardwood lloors. This progeny is a single family residence Bahind
the home is a covered palio/ca[port.

tiescribe the condition ct the property hnciuding needed repairs, deteriorationl renovabons, remudeling, eiciii 54; Ki[chen,updayed_§|x m ten years
agoBathrooms'updated-six to ten years aqo;The overall condition of the horne is considered averagg. There is n_o_apparent need for repairs This property conforms to
FHANA minimum property standards

lMPRO\lEMENTS

 

 

 

tire there any physicai dehcienclas or adverse conditions that affect die !iyat:llilyl soundnessy or structural integrity oi the property? |:| Yes § No lf‘fes. describe
No adverse physical conditions were noled.

 

 

 

Does the property generality conform to the neighborhood (iunciiohai titliity, siyle, condition risel constructionl elc.l? g ‘r'es |:| No ll No, descn`be
The size uaii and deslin are similar to other homes in the neighborhood Nc iunctional obsolescence was noted.

 

 

 

Freddie Mac Forrri 70 March 2005 UAD Version 9/2011 Page l ol 5 Fannie Mae Fon'ri 1004 Marcit 2005

Forrn ltitiriUAD - "TUTAL" appraisal schware by a la mode lnc. - l-BOD-ALAMODE

 

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Uniform Residentiai Appraisa| Fieport FM mona

Thereare coitipa'ab|e properties cunenl|y altered for sale in the subject neighborhood ranging in price from $ to$
Thereare comparable sales lri die subleci neighborhood within the past iweive mnndis ranging in sale once from 5 io$
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Sale Prit:e

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0 ats Source(s)

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Eoncessions

Date of Sale/Tlme

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Adit.isted Saie Pnce 1_6 'is Net ndi g_5 'it
al Comparables Gross not 'iii 1 Adi ‘ll-

ol ms subject property not, explain

lilly research did did not reveal any prior sales crtransiers ot the subject progeny ior the three years prior to the effective date ol this appraisal

Daia Soutce(s)

lilly research dirt did not reveal any prior sales or transfers ot tire comparable sales for the year prior to lite date ol sale of the comparable saie.

Daia Source(s)

iieport die results ot die research and analysis cl the prior sale or bansier hisme of the subject property and comparable sales treport additional prior sales orr gale Ci).
FiEM SUE,JECT CUMPAHABLE Sltl_E #1 GBMPRHABLE SAl_E #2 GUMPRHABLE SALE #1]

0aia ol Prt`or SaleJTransier

Fiice el Frlor Saiefiransfer

Daia Source(s]

Eifeciive 0ate ot Data Source{s]

Anatysis of prior sale or transfer history of the subject progeny and comparable sales

Summary at Sales Companson Approach

indicated Va|ue by Sales Comparlscn Apprriach o
iieit.ra by: Sa|=s CostApproaoh tit

sales of
in

ihisappraisalismade "asls', subject to completion per plans and speciucaiions orr t.tie basis nt' a hypothetical condition that the improvements have been
completedl 1:| subject io die following repairs or alterations on the basis st a hypothetical condition that the repairs br aherait'nns have been completed or |:| subjectioiho
ioliowing required inspection based nn tile extraordinary assumption that lite condidon or deficiency does not require alteration or repalr:

on a complete the interior and areas of the subject scope of worli, assumptions and
conditions end appraisers certiiication, my (our] opinion ot the market vslue‘ as det'ined. of the real property that is the sub]ect ot this report is
$ 1 ,es nl 1 , which is the date oi inspection and the effective dale oi this appraisa|.

 

Fredrtie Mac Form 70 Marcit 2005 UAD Version 912011 Fage 2 of 6 Fannie |viae Fomt 1004 Marcit 2005

Form 10040)10 - "TUTAL" appraisal software by a la mode, inc - 1-800-ALAN|00E

 

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Unlfurm Resldentlal Appraisal Repert F,,,,, mm

 

COST AFFF|UACH TQVA|.UE [nol required by Fann`re Meo)
Provlde adequate 'o'llorrnalioi'l lor tile lender/odom to replioare w nean cost norris and calculations
Soppon lor mo opinion or silo value (sommary of comparable land sales or older methods lor ssdmating site valuel

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'As-is’ Value el Site lmpru\remerils

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ls the developeri’cuilderin conlml of lha Homoowners‘ nssociaiinn (HUAJ? Ves Nn llrllrlype[sl Do£a:.*:ed Aea:lieo
Frovide lhe following lnlormadnn for PUDs UNLY il me developer/builder is in control nl the Hl]A and tire subieol property is an altached dwelling drill
Legal Name ol Pro|ecl
Toia| number or phases Tol.a| number or units Total number ol unils sold
Tota.| number of unite rented Tolaf number oluni|s for safe Dala suuree[s}
Was lho project created by lhe conversion of existing bolldlng(s} into a PU|J? \'es No li‘res, date ol conversion
lJoes The proiecl eoniain any mulo-rlwelllng onlts? Yes No Data Source
drs ma ur\lls, common elementsl and remands iaciilies somnlele? ‘¢‘es No ll No, describe me staon or completion

Are lne common elemenls leased lo or by tire Homeowners‘ Associalion? No !l‘ros, describe die renlal terms and options

Desnnne common eiemeola and recreational laclliiiss.

Freddle Mao Fcirrn ?0 Marl:h 2005 UAD Varsron 9,/2011 Page 3 of 6 Fannie Mae Fnrm ‘iDO=l l'l.llarch 2005

Form 1004UAD - "TUTAL" appraisal soflware by a la mode, lnc, - l-Blil]-ALAN|ODE

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Uniiorm Residential Appralsat Roport nw 171002

 

 

This report form is designed fo report an appraisal of a one-unit progeny or a one-unit properly with an accessory unit;
including a unit in a planned unit development (PUD). This report form is not designed to report an appraisal o|' a
manufactured home or a unit in a condominium or cooperative protect

Thls appraiser report is subject to the following scope of work, intended use. intended user‘ de£inition of market vaiue,
statement of assumptions and limiting conditions, and certifications Modifications, additionsl or deletions to the intended
oset intended usor, definition of market value, or assumptions and limiting conditions are not pom'rltted. The appraiser may
expand the scope of work fo lnctude any additional research or analysts necessary based on the complexity of this appraisal
assignment Modilications or deletions to the certifications are also not permitted However, additional certifications that do
not constitute material alterations to this appraisal report, such as those required by law or those related to the appraiser's
continuing education or membership in an appraisal organization are permitted

SCDPE DFWORK: The scope of work for this appraisal is defined by the complexity of this appraisal assignment and thc
reporting requirements ol this appraisai report fon'n. including the iofiowing definition or market valuel statement oi
assumptions and limiting conditions and certifications The appraiser must. at a minimum: itt perform a complete visual
inspection of the inferior and exterior areas of the subject propertyl (2) inspect the neighborhood (3) inspect each of the
comparable sales from at least the streei, (4) rescarch, ven'fyl and analyze data from reliable public and/or private sources,
and (5) report his' or her analysis, opinions, and conclusions in this appraisal report

lNTENDED USE: The intended use of this appraisal report is tor the lender/client to evaluate the property that is the
subject of this appraisal for a mortgage finance transaction

lNTENDED USER: The intended user of this appraisal report is the iender,"c|ient.

DEF|N|T|UN OFMARKETVALUE: t'ito most probable prtce which a property should bring in a competitive and open
market under all conditions requisite to a fair saie. the buyer and seller, each acting prudently, knowied|eabiy and assuming
the price is not affected by undue stimulus implicit in this definition ls the consummation of a sale as ot a specified date and
the passing of title from seller to buyer under conditions whereby: (1) buyer and seller are typically motivated: (2) both
parties are weil informed or well adviscd. and each acting in what he or she considers his or her own best interesi; (3) a
reasonable time is allowed for exposure in the open markei; (4) payment is made in terms of cash in U. S. dollars or in terms
of financial arrangements comparable ihereio; and (5) the price represents the normal consideration for the property sold
unaffected by special or creative financing or sales concessions* granted by anyone associated with the sale.

*Adjustments to the comparables must be made for special or creative financing or sales concessions No adjustments are
necessary for those costs which are nunnally paid by ss|iors as a result of tradition or law in a market area; those costs are
readily identifiable since the seller pays these costs in virtually all cates transactions Spociai or creative financing
adjustments can be made to the comparable property by comparisons to financing terms offered by a third party institutionai
lender that is not already involved in the progeny or transaction Any adiustmeni should not be calculated on a mechanical
dollar for dollar cost of the financing or concession but the dollar amount of any adjustment should approximate the markst's
reaction to the financing or concessions based on the appraiser's judgment

STATEMENTOFASSUN|PTIONSANDLlMlTlNGCOND|T|ONS! The appraisers certification in this report is
subject to the following assumptions and limiting conditions

1. The appraiser will not be responsible for matters of a legal nature that affect either the progeny being appraised or fha tide
to it. except for information that he or she became aware of during the research involved in performing this appraisal. The
appraiser assumes that the title is good and marketabie and will not render any opinions about the tit|e.

2. The appraiser has provided a sketch in this appraisal report to show the approximate dimensions of the improvements
The sketch is included only to assist the reader in visualizing the property and understanding the appraiser's determination
of its size.

3. The appraiser has examined the available flood maps that are provided by the Fodcrai Emergency Managemenf Agency
(or other data sources) and has noted in this appraisal report whether any portion of the subject site is located in an
identified Speciai F|ood Hazard nrea. Because the appraiser is not a surveyor, he or she makes no guaranteesl express or
impliedl regarding this determination

4. The appraiser will not give testimony or appear in court because he or she made an appraisal of the property in question
unless specific arrangements to do so have been made beiorehand, or as otherwise required by law.

5. The appraiser has noted in this appraisal report any adverse conditions (such as needed repairsl deterioration the
presence of hazardous wastes, toxic substances. ofc.) observed during the inspection of the subject property or that he or
she became aware of during the research involved in performing the appraisal. Unless otherwise stated in this appraisal
reportl the appraiser has no knowledge ot any hidden or unapparenf physical deficiencies or adverse conditions of the
property (such as` but not limited tol needed repairs, deterioration the presence of hazardous wastes, toxic substancesl
adverse environmental conditions etc.) that would make the property less valuabie, and has assumed that there are no such
conditions and makes no guarantees or wananties. express cr implied The appraiser will not be responsible for any such
conditions that do exist or for any engineering or testing that might be required to discover whether such conditions exist
Eecause the appraiser is not an expert in the field of environmental hazards, this appraisal report must not be considered as
an environmental assessment of the property.

6. The appraiser has based his or her appraisat report and valuation conclusion for an apprzn'sa| that is subject to satisfactory
completion repairs. or alterations on the assumption that the completion repairs, or alterations of the subject progeny will
be performed in a professional manner.

 

 

Freddie Mac Form 70 Marett 2005 UAD Version 9,'2011 Page 4 oi 6 Fannte Mae Form thd ilrlarch ZUUS

Form 1004an - "TDTAt" appraisal schware by a la mode, inc. - t-BUU-ALANIUDE

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Unrform Fiesrdentraf Appraisai Report my moog
APPRA|SER'SCEHT|F|CAT|ON: The Appraiser cenifies and agrees that:
1. i have. at a minimuml developed and reported this appraisal irr accordance with the scope ot work requirements stated in
this appraisal repon.
2, i penorrned a complete visual inspection of the interior and exterior areas ot the subject propeny. i reponed the condition
ot the improvements in factuall specific ferms. | identified and reported the physical deficiencies that could affect the

iivability, soundnessl or sfnrcturai integrity of the propeny.

3. l performed this appraisal in accordance with the requirements of the Unifonn Sfandards of Proiessionai Appraisai
Pracfice that were adopted and promulgated by the Appraisal Standards Board of The Appraisal Foundafion and that were irr
place at the time this appraisal repon was prepared

4. i developed my opinion of the man<ef value of the real property that is the subject of this report based on the sales
comparison approach to value. i have adequate comparabie man<et data to develop a reliable sales comparison approach
for this appraisal assignment i further cenify that i considered the cost and income approaches to value but did not develop

ihem, unless otherwise indicated in this report
5. i researched verified analyzed and reponed on any current agreement for sale for the subject propeny. any offering for
sale of the subject propeny in the twelve months prior to the effective date of this appraisa|, and the prior sales of the subject

propeny for a minimum of three years prior to the effective date of otis appraisa|. unless otherwise indicated in this repon.

6. i researched venfied, analyzed and reported on the prior sales of the comparabie sales for a minimum of one year prior
to the date of sale of the comparable sa|e, unless otherwise indicated |n this repon.

?. i selected and used comparable sales that are iocationa|iy, physicaiiy, and functionain the most similar to the subject propeny.

8. l have not used comparable sales that were the result of combining a iand sale with the contract purchase price of a horne that
has been built or will be built on the land

9. i have reponed adjustments to the comparable sales that reflect the man<et's reaction to the differences between the subject
property and the comparable saies.

1fl. i verified from a disinterested source. afl intorrnafion in this repon that was provided by panies who have a financial interest in
the sale or financing of the subject propeny.

ff. l have knowledge and experience in appraising this type of propeny in this market area.

12. i am aware of, and have access to, the necessary and appropriate public and private data sources such as multiple listing
services. tax assessment records, public land records and other such data sources for the area in which the property is located

13_ i obtained the information estimatesl and opinions furnished by other parties and expressed in this appraisal report from
reliable sources that i believe to be true and correct.
14. i have taken into consideration the factors that have an impact on vaiue with respect to the subject neighborhood subject

propeny, and the proximity of the subject property to adverse influences in the deveiopment of my opinion of man<ef value. l
have noted in this appraisal report any adverse conditions (such as, but not limited tol needed repairs. deterioration the
presence of hazardous wastes toxic substances, adverse environmental conditions. etc.j observed during the inspection of the
subject propeny or that l became aware of during the research involved in performing this appraisall f have considered these
adverse conditions in my analysis of the property value, and have reponed on the effect of the conditions on the value and
marketability of the subject propeny.

15. i have not knowingly withheld any significant information from this appraisal repon and to the best of my knowledge ali
statements and information in this appraisal repon are true and correct

15. l stated in this appraisal repon my own personall unbiased. and professional analysis, opinions and conciusions, which
are subject only to the assumptions and timiting conditions fn this appraisal repon.

f?. i have no present or prospective interest in the propeny that is the subject ot this report and | have no present or

prospective personal interest or bias with respect to the participants in the transaction l did not base either partially or
complete|y, my analysis and/or opinion of man<et value in this appraisal report orr the race. color, religion sex, age. marital
staius, handicap, familial statusl or national origin of either the prospective owners or occupants of the subject propeny or of the
present owners or occupants of the properties in the vicinity of the subject property or on any other basis prohibited by law,

15. ny employment and/or compensation for performing this appraisal or any future or anticipated appraisals was not
conditioned orr any agreement or understanding written or otherwisel that l would repon (or present analysis supponing) a
predetermined specific value, a predetermined minimum valuel a range or direction in value, a value that favors the cause of
any pany, or the attainment of a specific result or occurrence of a specific subsequent event (such as approval of a pending
mongage loan a ppiication) .

19. l personally prepared all conclusions and opinions about the real estate that were set forth in this appraisal repon. lf l

reiied orr significant real propeny appraisal assistance from any individual or individuals in the penorrnance of this appraisai

or the preparation of this appraisal report, l have named such individuai(s) and disclosed the specific tasks performed in this
appraisal repon. | cenify that any individual so named is qualitied to perform the tasks i have not authorized anyone to make
a change to any item in this appraisal repon; therefore any change made to this appraisal is unauthorized and i will take no
responsibility for it.

20. i identified the lender/client ln this appraisal repon who is the individuai, organization or agent for the organization that
ordered and will receive this appraisal repon.

 

 

Freddie Mac Form i‘i] Marr:h 2005 UAD Version 91'2011 Page 5 oi ii Faltnie Mae Form 1004 iVlarch 2005

Form 1004UAD - "flJfAL" appraisal software by a la model inc. ~ f-BUD-AL¢\MODE

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Uniform Ftesidential Appraisai Fteport m mm

 

214 The lender/client may disclose or distribute this appraisal report to: the bonower, another lender at the request oi the
borrower. the mortgagee or its successors and assigns; mortgage iosurors; government sponsored enterprises; other
secondary market particlpants; data collection or reporting services; protessional appraisal organizations; any department
agencyl or instrumentality oi the United States; and any staie. the District of Columbla. or other jurisdictions; without having to
obtain the appraisers or supervisory appraiser's (if applicable) consent. Such consent must be obtained before this appraisal
report may be disclosed or distributed to any other party (including, but not limited tn. the public through advertising public
relations news, sales. or other media).

22. | am aware that any disclosure or distribution ol this appraisal report by me or the lender/client may be subject to certain
laws and regulations. Further, l am also subject to the provisions of the Unitorrn Standards ot Protessional Appraisal Practice
that pertain to disclosure or distribution by me. '

23. The borrower, another lender at the request ot the borrower, the mortgagee or its successors and assigns mortgage
lnsumrs, government sponsored enterprises and other secondary market participants may rely on this appraisal report as part
of any mortgage iinance transaction that involves any one or mom ot these parties

24. lt this appraisal report was transmitted as an "electronic record" containing my "electronic signature," as those terms are
defined in applicable federal and/or state laws (excluding audio and video recordings), or a facsimile transmission of this
appraisal report containing a copy or representation of my signatore. the appraisal report shall be as effective enlorceabte and
valid as il a paper version ol this appraisal report were delivered containing my original hand written signature

25, Any intentional or negligent misrepresentationjs) contained tn this appraisal report may result |n civil tiabiliiy and/or
criminal penalties includingl but not limited tol line or imprisonment or both under the provisions of Title iB. United States
|Ilodel Section 1001. et seq.. or similar state laws.

SUPERV|SDRVAPPRA|SEH'S CEFlTlFlCA`!'lON: The Supervisory Appraiser certifies and agrees that:

1, l directly supervised the appraiser for this appraisal assignment have read the appraisai report, and agree with the appraisers
analysis opinions. statementsl conclusions and the appraiser's certiiication.

2. l accept tull responsibility ior the contents ot this appraisal repon including. but riot limited to, the appraisers analysis, opinions,
statements conclusionsl and the appraisers certiiication.

3. The appraiser ldentilled in this appraisal report is either a sub-contractor or an employee ot the supervisory appraiser (or the
appraisal firm], ls qualified to perion'n this appraisai, and is acceptable to perlan this appraisal under the applicable state law.

4. This appraisal report complies with the Uniionn Standards of Frofessional Appraisal Practice that were adopted and
promulgated by the Appraisal Standards Board ot The Appraisal Foundation and that were iri place at the time this appraisal
report was prepared

5. il' this appraisal report was transmitted as an "e§ectronic record" containing my "electronic signature.“ as those terms are
defined in applicable federal and/or state laws jexcluding audio and video recordings), or a iacsimite transmission oi this
appraisal report containing a copy or representation ot my signature the appraisal repon shall be as effective, enforceable and
valid as il a paper version oi this appraisal report were delivered containing my original hand wzitten signature

 

 

APPnAiSER Appraiser # 1359 suPEnvlsonv APPRAlsEn roNLY lF nEoulnEo)
Signature 654 Signature

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Name Danle| A. Hyland Name
Company Name gamez A. 3 land Company Name
Company Address P_(]_ Bgy 9391 Contpany Address
Pensacolal FL 32513
Telephorie Number {350] 712_99|]1 Telephone Number
Emai| Address DanRy[a|-jg@gox_ngt Emait Address
Date of Signatnre and Heport 1[)/()5,/2[}17 Date of Signature
Efieciive Date of Appralsal 10[[]4{2(]1]' State Ceriiiication #
State Certitication # CERT_HES_RDj 600 or State License #
or State License # State
or Dther {descn'be) State # Expiratlon Date of Certification or License
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E)rpiration Date of Certification or License 11/30/2015 SUBJECT PRDPERTY
Aooasss or PeoPEnTv APPsAls£o ij D'd "°‘ '"Spe°‘ S“ble°‘ Pr°i“"“’

|:| Did inspect exterior of subject propeny irom street
Date ot inspection

j:| Did inspect interior and exterior of subject property
Date of inspection

520 W Strong St
Pensaco|a. FL 325£|1
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106 000

 

 

 

 

 

 

 

 

 

LENDEFUCL|ENT
Name N° AMC coMPAeABLE sALEs
Coml-iani' Name Dave Everitt
CU"|PH¥W Addr€$$ 1020 N. Fleus Sl. Pensaco|a, FL 32501 |:| Did not inspect exterior ot comparable sales from street
l:| Did inspect exterior oi comparable sales from street
Emai| Addrl’-SS 1luckydevi|@bei|south.net Date or inspection
Freddie Mac Form ?D March 2005 UA|J Verston 9,1'2011 Page 6 of 6 Fannie Mae Form 1004 March 21105

Form 1004UAD - "TOTAL" appraisal soltware by a la mode. inc - 1-BOU-ALAMODE

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inn 171002
UN|FOR|V| APPRA|SAL DATASET (UAD) DEF|N|T|DNS ADDENDU|V|

(Source: Fannie Mae UAD Appendix D: UAD Field-Spec`riic Standardizarlon Fleouirementsi
Gondition Fiatings and Definitlons

01

The improvements have been recently constructed and have not been previously occupied The entire structure and all components are new
and the dwelling features no physical depreciation

Note: Ncwiy constructed improvements that feature recycled or w ` ’, usedi ' andror r its can be eo new * ' ,
provided that the dwelling is placed on a 100 percent new ioundafion and the recycled materials and thc recycled components have been

rehabiiilatedr'remanui'aciured into |ike¢new condition improvements that have not been previously occupied are not considered "new" if they
have any significant physical depreciation ithal is. newly constnrcted dwellings that have been vacant for an extended period of time without

adequate maintenance or opkeep).

02

The improvements feature no deferred maintenance. little or no physical depreciationl and require no repairs. ir'irtuaiiy all buiiding components
are new or have been recently repaired relinished, or rehabilitated lAl| outdated components and finishes have been updated and/orrap|aced
with components that meet current standards Dwelllngs in this category are either almost new or have been recently completely renovated and
are similarin condition to now construction

Note: The improvements represent a relatively new propeny that is well maintained with no deterred maintenance and lillie or no physical
depreciation or an older propeny thai has been recently completely renovated

03

The improvements are weil maintained and ioature limited physical depreciation due to normal wear and tearr Some components but not every
motor building component. may be updated or recently rehabilitated The simcture has been well maintained

Note: The improvement is in its first-cycle ol replacing shorleiived building components (appiiances, fioor covenngs, l-tVAC, etc.j and is
being weil maintained its estimated effective aga is less titan its actual age. lt also may rellect a property in which the majority ol
short-lived building components have been replaced but not to the level of a complete renovation

G4

The improvements feature some minor deferred maintenance and physical deterioration due to normal wear and fear. ina dweliing has been
adequale|y maintained and requires only minimal repairs to building components/mechanical systems and cosmetic repairs. Ail major building
components have bean adequately maintained and areiunctional|y adequate

Note: The estimated effective age may be cross to or equal to its acluai age. lt rellects a property in which some of ine shon-lived building
components have been replaced and some short-lived building components are at or near the end of their physical tife expectancy; however,
they still function adequately Mosf minor repairs have been addressed on an ongoing basis resulting in an adequaieiy maintained propeny.

05

The improvements feature obvious deterred maintenance and are in need of some significant repairs. Some building components need repairs.
rehabilitation or updating. The functional utility and overall iivability is somewhat diminished due to conditionl but the dwelling remains
useabie and functional as a residence

Note: Some significant repairs are needed to the improvements due to tha lack ol adequate maintenance lt reflects a property in which many
ot its shortelived building components are at the end oi or have exceeded their physical file expectancy but remain iunctiona|.

L`G

The improvements have substantiai damage or deterred maintenance with deficiencies or defects that are severe enough to affect the salety,
soundnessl or structural integrity of the improvements The improvements are in need or substantial repairs and rehabilitation including many
or most major components

Note: Substantiai repairs are needed to \he improvements due to the lack of adequate maintenance or propeny damage lt reiiecis a propeny
with conditions severe enough to affect the saleiy. soundness. or structural integrity of the improvements

Quality Ratings and Definitions

01

Dwellings with this quality rating are usually unique structures that are individually designed by an aichitectior a specified user. Such
residences typically are constructed from detailed architectural plans and specifications and feature an exceptionally high level of workmanship
and exceptionally high'grade materials throughout the interior and exterior or the siructure. The design features exceptionaily high-quality
exterior refinements and omameniation. and exceptionaily high-quality interior refinements The workmanship materiais, and finishes
throughout the dwelling are ot exceptionally high quality.

02

Dwellings with this quality rating are often custom designed ior constnrciion on an individual property owner's siie. Howevcr. dwellings in
this quality grade are also found in hign¢quaiiry tract developments featuring residence constructed from individual pians or from highly
modined or upgraded plans. The design leatures detailed high quality exterior ornameniation. high¢qualily interior retinernents. and deiaii. The
workmanship materiais. and finishes throughout the dwelling are generally of high or very high qualify

UAD Version 9/2011 (Updafed if2014i

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(Source: Fannie Mae UAD Appendix D: UAD Field¢Specific Standardizatiorr Requirements}
Ouaiit'y Hatings and Deflnitions (continuedi

03

Dwe||ings with this qualify rating are residences of higher quality built from individual or readily available designer plans in above~standard
residential tract developments or on arr individual property owner`s site. The design includes significant exterior crnamentation and interiors
that are well irnished. The workmanship exceeds acceptable standards and many materials and finishes throughout the dwelling have been
upgraded from “stoclr” standards

Clr-‘l

Dweliings with this quality rating meet or exceed the requirements of applicable building codes. Standard or modified standard building plans
are utilized and the design includes adequate tenestration and some exterior ornamentation and interior refinements Materialsl workmanshipl
finishl and equipment are of stock or builder grade and may feature some upgradesl

05

Dwe||ings with this quality rating feature economy of construction and basic lunctfonaiity as main considerations Such dwellings teature a
plain design using readily available or basic flour plans featuring minimal tenestratlon and basic finishes with minimal exterior omamenfation
and limited interior detail. These dwellings meet minimum building codes and are constructed with inexpensivel stock materials

with limited refinements and upgrades.

06

Dweiilngs with this quality rating are of basic qualityl and lowercost; some may not be suitable for year-round occupancy. Such dwellings

are often built with simple plans orwilhout plans. often utilizing the lowest quality buiiding materials. Such dwellings are often builtor
expanded by persons who are professionally unskilled or possess only minimal construction skills. E|ectrir:ail plumbingl and other mechanical
systems and equipment may be minimal or non-existent Dider dwellings may feature one or more substandard or non-confomrlng additions
to the original stmcture

Definitions of Not Updated. Updated and Remodeied

Not Updated
Litlle or rtc updating br modernization This description includesl butts riot limited to. new homes.
Resfderrtiai properties of fifteen years of age or less often reflect an original condition with no updating. it no major
components have been replaced or updated Those over fifteen years of age are also considered not updated if the
appliances tixtures. and finishes are predominantly dated. An area that is 'l\lot Updated` may still be well maintained
and fu|iyfunctiunal. and this rating does not necessarily imply deferred maintenance or physicatliunctional deterioration

Updated
The area of the home has been modified to meet current market expectations These modifications
are limited in terms of both scope and cost.
An updated area of the home should have an improved look and lee|. or functional utility. Changos that constitute
updates include refurbishment and/or replacing components to meet existing market expectations Updates do not
include significant alterations to the existing structure

Remorleied

Signiiicant finish and_r‘or structural changes have been made that increase utility and appeal through
complete replacement and/or expansion

A remodeled area reflects fundamental changes that include multiple aiterations. Those alterations may include
some or all cf the to|lowlng: replacement ot a major component (cabinet[s), bathtub or bathroom tiie). relocation
of plumbing/gas fix'turesi‘appiiancesl significant structural alterations trefocating wallsl and/ortho addition ot)
square footage). This would include a complete gutting and rebuiid,

Explanation of Bathroorn Courtt

Three-quarter baths are counted as a toll bath in all cases duarter baths (baths that feature only a toilet) are not
included fn the bathroom count. The number ot tull and halt baths is reponed by separating the two values using a
period. where the full bath count is represented fn the left of the period and the hall bath count is represented tc the
right of the period

Exampie:
3.2 indicates three full baths and two half baths.

U!-\D VErSiDrt 9/2[)11 [Updated 1/2014)

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UN|FUR|V| APPRA|SAL DATASET (UAD} DEF|N|T|ONS ADDENDU|V|

(Source: Fannie Mae UAD Appenclix D: UAD Fie|d-Specific Stanc|ardization Requiremems)

Abhrev|a"nns Used in Date Sfandardizalinn Te>d

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GH

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Acres
Adiacemm Park

An'ns Langtn Sa|e

Baihronm(s)

Busy Road

Cash
Gnmme!cia| |nf|unnce

Garpon

City Streal \.'iaw

Days
DEiBChEd SkUEiler

Expiran'on Date

Federa| Housing
Garage

Bui|t-in Baraga

Go|i Course

Garden

|nduslrlal

LandH|l

Mici-rise

Nnn¢Arms Lenglh Sale

D!her

Park View

Power Lines
Puh|ic ranspnrlation

F¢ED Sa|e

USDA - Rura| Hol.rsing

0|‘
Sen|emenl Dala

Shorl Sa|e
Square

Unknnw n

Wilhdrawn Daie

Woods \.'iew

Wa|k Up Basement

LOCB"OF|

Sala or Financing Concessions

Basemenl & F|nished Rcmms Be|nw fide

Loca!ion

Df

07
Lucatinn

Cf
Garage/Carpon

GI'

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|Ja!e of Saie."l'ime
or
or
GaragE/Carpnrt

Garage/Carport

Loca!ion

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Ll;\l:a|jon & VEEW
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t.lan #

USPAP Comp|iarrce Addendurn mg

Froporty Addross

ilin Irp Codo

 

APPRA|SAL AND FiEFUF\T lDENTiFlCATiON

This Appralsai F.epertis one pi the tolidwing typos:

Appralsal Report This reportwas prepared naccerdance with tire requirements el the Appraisai Repori option oi USPAP Standards Rute 2-2(eir
m Heseictart operated neperr Trrrs report was prepared in aceenranco won me reqrrrrenrerns er ma n-sararee Appraiser depart epuen er uspr\r= standards pure 2-2¢¢,)_ Tna

intended userof this repon rs limited to the identified client This ls a Restricted .Appreisal Repon and the railonatoiorhow tire appraiser arrived
at the opinions and conclusions setlort‘h in the report moy netbe understood properly without the additional inionnatterrtn the appraisers worlcl'rler

The intended use of this appraisal report is to evaluate the property which is the subject ct this appraisal ior Mpatlon. The stated scope ot work and definition ot value is
specific ic this intended use. No otheruse is intended This appraisal report ls intended tor use only by the cilent. Use of this report by others is net intended by the
appraiser, Daniel A. Ftyland, State~Certttiert Residerrtlal R E Appralser RDiBUO. This appraisal is not intended tor mortgage loan origination and may not comply with FNMA

lending guidelines in all respectsl

ADDPT|DNAL CEHT|F|GA`iiUNS

l certify that to the bristol my knowledge and beilei:
l The statements ottactcorrlained in ihb report ere true and correctl

The rq:en analyses epinlorrs, odd conclusions are limited crdy by the reported assumptions and are my parsonal` impardail and unbiased protesslona| analyses

opinion‘S. and conclusions

| have ne (or the specified) present or prospective interest in lite propeny thot is the sub|ect ot this report end ne [or specihedt personal hterest with respect to the
parties involved

lharra no bias with respect to the property thotis the subjected this report or the parties involved with this assignment

n My engagement in this assignment was not conb“ngent upon developing or reporting predetermined results.

 

o my ` rur this ' is not , upon the r or reporting el o predetermined value ordr`rectiun in vaiue that layers the cause
of the client the amount ot the value opinion` the attainment di a stipulated resu|L or the occurrence oi s subsequent event directly related to the intended use of

this appraisal

My analyses oprnlons_ and conclusions were developed and this report has been prepared_ in cornormity win the Llnitarrn Standa|ds of Pm[ussipnai Appraisal Fraclice_

 

`ihis .,, ` , t *‘ wiihther ' "‘Tiltoxi ot F|BREAand anyimpiementing regulations

PR|DR SEHV|CES

|t'ravo NDT performed slrvic€ls. as an appraiser nr rrr any enter eapaelip, regarding the property that is the subject ol this report w`rd-rirr the three-year period
immediately preceding acceptance of this assignment
m l HAVE penormed sarvices, as an appraiser or trt another capacity, regarding the property tnol is the subject oi this report within the lhrae¢year period immediately

 

preceding acceptance pilots assignment Those services are described in the comments beicwr
F'ROFEHTY lNSPECT|UN ' ' ' '_: ' ' '
[:I lirette NDT mode a personal inspection el tire property that is the suoioct ot this report
rrr.rrvr maeapasanarrnsaeetren area property maris the proponents report

    

APFHA|SAL ASSlS`i.i-\NGE
Ur'rle'ss otherwise riptedr rio one provided significantreal property appraisal assistance to me person signing this certiilcalion ti anyone did provide signiiicant assistance they

aro hereby identified airng with a summary nimn extent ol ihs assistance provided lrr the report

 

 

 

nporrrorvnr_ comments

Addltipnal USPAF related lssueslequirlng disclosure and/orany state mandated requirements Da[a rega[ding market cnmji[icms| the sumth property and Cumparab!e
properties was obtained irom several sources considered to be comprehensive and suitable for residential appraisals Sources include local Multiple Listing Services the
Prcper_ty Appraisers Ottice and the County Cterk ot Courts [deert roomf. Exposure time is estimated to he 120 days. Expesure time is a retrospective opinion and is detlcecl
as "The estimated length ct time that the propeny being annreised would have been exposed to the market prior to the hypothetical consummation ot a sale at market value
on the etieclive dale ci the appraisa|". Etlective ace is an appraisal concept meaning the apparent age oi improvements to real propeny based orr wear and tear rather than
the chronological aqe. Etiective aqe is based orr the amount ot wear and tear ll has sustained Contrast with actual age which is the age ot the improvements since the

date oi construction

 

 

MAHKET|NG T|i\l'iE Ai\i[) EXPDSUHE TiNlE FOH ii~iE SUE.JECT PHUPEF»TY

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

g A reasonabte marketing time for the sub|ect propeny is 1 20 day(si utilizing market conditions pertinent to the appraiser assignment
A reasonable exposure time for tho suhrlc| property ls 1 20 day[s}
APPRA|SER SUPEH\'|SOR‘( AF'PF\P\|SEF\ (CiNL‘tl lF REC|U|HED)
Signalure A EL/ ` Signature
"e"“ Daniel A. Ryland Na"“
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llllarket Conditions Addendum to the Appraisai Fleport

prrpose ot this addendum is to provide the lender/chem with a clear and accurate understanding the
neieiiitotherrri. This is a required addendum for ali appraisal reporo with an eiiective date on or alter don| 11 2009.
Prcprsry Address Dity Stale Z|F dee
Borrorra
instructions Tne appraiser must use the infennaiion required on this tenn as the basis let lrlsr'ltlr concirrslorrs, and most provide support lot moss conclusions regarding
hobson berds and overall mattel condit`ons as reponed in the Neiqhborhood section rrl the appraiser repon lorm. The appraise must itt in all the inionrrrrtion to the extent
lt is available and reliable and must provide analysis as indicated below. lt any required data ls unavailable cr is considered uoreiahle, the appraiser must provide an
uplatali:rrt |tis recognized that not all data sources wi! be able to provide data for lite shaded areas below; Flii is available however` tire appraiser must indude the data

Flle Ntl.

in the analysis lidata sources provide the required inionrrrrtion as an average instead el ttlernedian. the appraiser should repon the available agurs and identity it as an
avo'age, Saies and |lsu'nos mustbc properties that compete with till subleatprepenyr determined by applying lite criteria that wouid be used by a prospective buyer ot the
subiztpr'operty. The appraiser must explain any anomaliesin the data. such as seasonal markets new construclon, foreclosures atc.

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CaS€ 16-30531-.]CO DOC 353 Fi|€d 10/06/17 Pag€ 17 Of 23
Suhiect Photn Fage

Proparty M:lless

UiN Ip Coda

 

Front
520 W Strong SE
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Gruss Living Area 1,114
fatal Huoms 5
Toia| Belfrooms 2
Toia| Ba!hrooms 2.|]
Locah`nn N;Fles;
\flew N;Res;
Si£e 3600 sf
|Jua|ity 04
Age 89
Rear
Street

 

Form P|CP|X.SR f "TOTAL" appraisal software by a la mode. inc. - 1-BDD-ALAMUDE

CaS€ 16-30531-.]CO DOC 353 Filed 10/06/17 Page 18 Of 23

lnterior Photos

David
Address W

COdE 325{)1

     

Living Room Living Hoom

 

Living Room Bedroom Bath

Furm P!CINT12¢LT - "TUTAL" app!aisa| software by a la mude, inc. - 1-SGG-ALAMODE

CaS€ 16-30531-.]CO DOC 353 Filed 10/06/17 Page 19 Of 23

Bomparahle Photo Page

Adrlress

 

Cnmparahle 1

 

514 W Wright 51

me to Subiect 0.40 miles S
Sa|es Price 104,5[10
Gross Livlng Area 1,21B
Tota| Rooms 5

Tola| Bedmums 3

Tolal Bathmnms 2.D
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Sile 4500 sf
Guality 04

Age 108

I.`.omparable 2

1215 N C St

Prox. 10 Subiect 0.29 miles NW
Sales Price 116,500
Gross leing Area 1,1180
Tola| Houms 5

Total Bedrooms 3

Tnta| Halhroorns 1.l]
Localjon N;Fles;
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Site 10,000 sf
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Age 69

Comparahle 3

114 N E St

me. to Subiect 0.63 miles SW
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anatinn N;Res;
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Form P|CP|X.CR - 'FHJTAL" appraisal Suf[wam by ala mDIfE. irlC. - 1-80|]-AU\MODE

Case 16-30531-.]€0

Pmparly Addless

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Bui|ding Sketch

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i'J`p nude

 

 

TOTAL Mit|'l by l ll mak, in¢.

 

3 21.9'
Study

Bedroom

.`['ST

Bath

 

Bath

 

2.5'

Bed room

47.3'

Kitchen

.Z€

Dining

LiVinQ Room

"__ 24.4'

 

 

 

Porch
20'

 

 

 

Arla C.l|cl.lllllcml Summary

 

Lhr}ng Arn
First F|oor

Tetnl le|ng Ar¢a (Ronm|nd):
Non-llv|ng Aru
Ope:\ Porch

 

Cl!culation Deh||:
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1sa.1e sq n

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243 x 32
D.S x 24.4 x U.Z

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05 >¢ 20 x 0.16

= 330.69
= 730.8
= 2.44

= 156.52
= 1.64

 

F0m1 SKT.ELDSK| - 'TUTAL" appraisal software by a la mude, lnc. f lfBUO¢ALAMODE

 

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Location Map

Propsrl]r M\iass

 

  

  

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Furrn MAP.LOC - ”TOTAL" appraisal software by a la mode, inc. w 1"800»ALAMODE

    
     
   
  

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Arie| Site Map

 

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Gertification

R:cr< SCOTT. GGVERNOR KEN LAWSON. SECRETARY
STATE OF FLOR|DA

DEPARTMENT OF BUS|NESS AND PROFESSIONAL REGULAT|ON
FLOR|DA REAL ESTATE APPRAISAL BD
LicF.NsE NuMsER

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The CERT|F|ED RES|DENTIAL APPRA|SER
Named below |S CERT|FJED

Under the provisions of Chapter 475 FS»
Expiration date: NOV 30, 201 B

 

 

RYLAND, DAN|ELA
1528 E BLOUNT ST
PENSACOLA FL 32503

 

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STATE OF FLOR|DA

DEPARTMENT OF BUS|NESS AND PROFESS|ONAL REGULATION
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Named below HAS REG|STERED

Under the provisions of Chapter 475 FS.
Expiratiun date: NOV 30, 2018

 

eulLLEN. GRAC\ELAALEJANDRA
6141 cHABLls LANE 7
PENSACOLA FL 32504

 

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